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                                   IN THE UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF VIRGINIA
                                            ROANOKE DIVISION

                               CRIMINAL MINUTES - GUILTY PLEA HEARING

  Case No.: 4:l8CR00012-008                Date: 3/6/2020

  Defendant: Jalen Cormmarius Terry, custody                     Counsel: Paul Beers, CJA

  PRESENT:       JUDGE:                    Michael F. Urbanski, CUSDJ         TIME IN COURT: 2:48- 3:38 50m
                 Deputy Clerk:             Kristin Ayersman
                 Court Reporter:           JoRita Meyer
                 U. S. Attorney:           Ron Huber, Heather Carlton
                 USPO:                     Kim Falatic
                 Case Agent:               none present
                 Interpreter:              none needed

  PROCEEDINGS:

         Waiver of Indictment filed.
         Information filed.
         Plea Agreement filed with court; SOF filed with the court.
         Defendant advised of right to have U. S. District Judge accept plea. Defendant waives this right, and executes
         Consent to Allow U. S. Magistrate Judge to accept plea
         Defendant re-arraigned as to Counts Enter counts to which pleading guilty
         Defendant placed under oath. Court questions defendant regarding his/her physical and mental condition, and
         advises defendant of his/her rights, and the nature and possible consequences of plea.
         Court finds the defendant competent and capable of making a knowing and informed plea and accepts the plea and
         plea agreement.
         Guilty plea form executed and filed.
         Government summarizes evidence to support plea and rests.
         Court finds defendant guilty as charged in Counts One and Three
         OR
         U. S. Magistrate Judge accepts plea of guilty to Counts enter counts to which defendant pled guilty and will
         recommend that the U. S. District Judge find the defendant guilty of said counts.

  DEFENDANT PLEADS:
  (list counts)


      DEF. #           GUILTY               NOT GUILTY             NOLO                     REMARKS
               1, 3
        1

        2

        3

        4

         Court orders Presentence Report.
         Copy of Presentence Report not requested.
         Defendant to remain on bond.
         Defendant remanded to custody.
         Sentencing hearing scheduled for TBD before Judge Urbanski.
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  Additional Information:
  US will get answer re appeal issue to court/parties.
  US notes for court/record that the victims believe that the sentencing range that the dft has pled to is insufficient in this case.
           Court addresses.
